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 5
     Attorney for Defendant
 6   RICARDO ANDRADE
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            ) Case No. CR-S-08-0562 EJG
                                          )
12                       Plaintiff,       ) ORDER EXONERATING BOND AND
                                          ) FOR RETURN OF COLLATERAL
13         v.                             )
                                          )
14                                        )
                                          )
15   RICARDO ANDRADE                      )
                                          )
16                Defendant.
     __________________________
17
           The defendant is currently incarcerated at Herlong FCI
18
     to serve the sentence of 96 months imposed June 25, 2010. On
19
     December 5, 2008, and again on February 12, 2009, defendant
20
     was required and did post collateral for his release, among
21
     other things the title of four vehicles, docketed as items
22
     50, 51, 52, and 54.
23
                                        ORDER
24
           Bond is hereby exonerated in this matter and the
25
     collateral is to be returned forthwith to the defendant or
26
     his attorneys or his personal representative, with respect to
27
28   Order Exonerating Bond
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 1   the items docketed as set forth above.
 2         IT IS SO ORDERED
 3
 4         DATED: September 15, 2010
 5
 6                                           /s/ Gregory G. Hollows
                                        ________________________________
 7
                                        UNITED STATES MAGISTRATE JUDGE
 8
     andrade.ret
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     Order Exonerating Bond                   2
